                      IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                       CIVIL ACTION NO.: 3:20-cv-00044-FDW-DSC


 DISHEKA CLARK, BIANCHA                        )
 MCCRAY, LISA A. CASH,
 COURTNEY GIBSON, and                          )
 FRANCHESCA HARRINGTON,
                                               )
                Plaintiffs,                    )
                                               )    NOTICE OF DISMISSAL WITHOUT
                                                             PREJUDICE
 vs.                                           )

 TRAVIS FORD and F & J                         )
 COMMUNITY SERVICES, INC.,                     )
                Defendants.                    )
                                               )
                                               )
_____________________________________________________________________________

       Pursuant to Rule 41 of the Federal Rules of Civil Procedure, Plaintiffs Disheka Clark,

Biancha McCray, Lisa A. Cash, Courtney Gibson, and Franchesca Harrington, by and through

their undersigned counsel, hereby give notice of the dismissal of this action, without prejudice.

Plaintiffs are entitled to dismissal without a court order pursuant to Rule 41(a)(1)(A)(i) because

Defendants have not filed an answer or responsive pleading.

       Respectfully submitted this 8th day of December 2020.



                                     /s/ Philip J. Gibbons, Jr.
                                     Philip J. Gibbons, Jr., NCSB #50276
                                     Craig L. Leis NCSB #48582
                                     Corey M. Stanton NCSB #56255



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